Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 1 of 10 PageID #: 4578
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 2 of 10 PageID #: 4579
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 3 of 10 PageID #: 4580
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 4 of 10 PageID #: 4581
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 5 of 10 PageID #: 4582
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 6 of 10 PageID #: 4583
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 7 of 10 PageID #: 4584
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 8 of 10 PageID #: 4585
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 9 of 10 PageID #: 4586
Case 2:19-cr-00196-JRG-CRW Document 608 Filed 11/09/20 Page 10 of 10 PageID #:
                                   4587
